UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK
                                                       )
    In re:                                             )
                                                       )      Case No. 20-10322 (CLB)
    The Diocese of Buffalo, N.Y.,                      )
                                                       )      Chapter 11
                           Debtor.                     )
                                                       )
                                                       )
    The Diocese of Buffalo, N.Y.,                      )
                                                       )
                            Plaintiff,                 )
                                                       )
             v.                                        )      Adversary No. 20-01016
                                                       )
    JMH 100 Doe, et al.1                               )
                            Defendants.                )
                                                       )
                                                       )

       DECLARATION OF JOHN M. SCHOLL REGARDING THE DIOCESE’S SELF-
         INSURANCE PROGRAM AND AVAILABLE INSURANCE COVERAGE

             Pursuant to 28 U.S.C. § 1746, JOHN M. SCHOLL, hereby declares and says as follows:

             1.    I am the Director of Insurance Services for The Diocese of Buffalo, N.Y. (the

“Diocese”). In such capacity, I am the individual primarily responsible for the Diocese’s risk

management functions, including, without limitation, its insurance programs.

             2.    I have more than 40 years’ experience working in the insurance and risk

management industry, the last 21 in my current position at the Diocese. Prior to working for the

Diocese, I worked for a combined 16 years with three major insurance carriers, Continental Ins.

Co., Aetna and Travelers, as a commercial large account underwriter. I also spent 5 years as Large

Commercial Account Manager for an insurance agency. I have bachelor’s degrees in both statistics



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 The defendants in this adversary proceeding are identified in Exhibit A to the complaint filed by The Diocese of
Buffalo, N.Y.



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and mathematics from the University of Buffalo as well as 2 years of master’s degree courses in

statistics, also at the University of Buffalo.        I obtained my Chartered Property Casualty

Underwriter (CPCU) designation in 1984 and served 6 years on the board of the Buffalo Chapter

of the Society of CPCU. I also hold an Associate in Management designation (AIM) from the

Society of CPCU. I have previously served as Vice President of The National Catholic Risk

Retention Group’s Board of Directors and Chairman of the Board of Governors of National

Catholic Services, LLC, an insurance company providing liability insurance for 53 Catholic

Dioceses/Archdioceses and the Christian Brothers Risk Pooling Trust.

       3.      I make this declaration based upon my own personal knowledge, information, and

belief after having reviewed books, records and other documents created, maintained, and relied

upon by the Diocese in the normal course of its business operations and consulting with appropriate

Diocesan personnel and advisors.

                               The modern self-insurance program

       4.      Beginning on or about July 1, 1973, and at all times thereafter, the Diocese has

maintained a joint self-insurance program (the “SIP”) which provides comprehensive risk

management services and insurance coverage for the Diocese and also for parishes, schools and

other Catholic ministry entities and institutions within the geographical territory of the Diocese

(the “SIP Participants.”) The Diocese implemented the SIP as a means of ensuring that SIP

Participants have adequate insurance protection at a reasonable price by spreading risk among a

large pool of participants and leveraging their collective buying power to secure excess coverage

at favorable rates.

       5.        Under the SIP, the Diocese coordinates and administers self-insurance coverage,

subject to applicable excess policies, for (i) direct and indirect property loss, business interruption

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and equipment breakdown (ii) general liability, bodily injury and property damage claims,

including personal injury, employee benefits, sexual misconduct, employment practices, directors

and officers, school board legal liability, cyber liability, errors and omissions, as well as

automobile liability and physical damages, and (iii) workers’ compensation. The SIP also provides

first dollar coverage for New York statutory disability and paid family leave.

       6.      The SIP utilizes third party insurance brokers to assist the Diocese in purchasing

appropriate excess coverage and to administer various risk management programs.

       7.      The Diocese funds the SIP primarily by billing each SIP Participant a ratable

portion of the projected overall cost of administering the program and paying claims, using

allocation methodologies which take into account numerous different ratable exposure bases. The

Diocese strives to achieve a consistent and fair allocation of premium costs among the SIP

Participants. For fiscal year 2019-2020, the Diocese has budgeted approximately $7.4 million in

premium revenue related to the SIP. This premium revenue is used to pay administrative costs of

the program (including, where applicable, defense costs), to pay claims for losses, and to pay

premiums for excess coverage. If there are surplus SIP Funds remaining at the end of a fiscal year

after payment of all costs and expenses related to the program, such surplus funds are deposited

by the Diocese into a segregated reserve account and used to offset future obligations under the

program.

       8.      By order entered April 21, 2020, the Court authorized the Diocese to continue to

maintain the SIP during this Chapter 11 Case and to pay claims, premiums, defense costs,

obligations and administrative costs of the SIP in the ordinary course of business consistent with

its prepetition practices [Docket No. 253].




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       9.      Since the inception of the SIP in 1973, the Diocese has continually maintained

policies of excess insurance covering general liability claims against the SIP Participants

(including claims for personal injury, sexual misconduct, and errors and omissions). Under the

SIP, the Diocese is responsible for coordinating the defense of, and paying all defense costs and

claims for losses by any SIP Participant, up to the point of available excess coverage. The Diocese

reviews and adjusts the excess coverage under the SIP on an annual basis. Under the current

formulation of the SIP, the Diocese is responsible for paying a self-insured retention of up to

$250,000 for general liability claims. Above the self-insured retention, the Diocese maintains

general liability excess policies with National Catholic Risk Retention Group (“National

Catholic”) and W.R. Berkley with limits of $14.75 million and $25 million respectively.

       10.     Historically, the SIP has maintained general liability excess policies with the

following carriers: Continental Insurance Co., Exchange Mutual Ins. Co., Employers of Wausau,

Catholic Mutual Ins. Co., Sphere Drake and National Catholic.

                                  Pre-1973 insurance coverage

       11.     Prior to the implementation of the SIP in 1973, each of the SIP Participants was

responsible for securing its own liability insurance coverage. In response to recent litigation

alleging abuse claims dating back many decades, the Diocese has undertaken efforts to confirm

the existence of coverage for each of the SIP Participants prior to July 1, 1973 when the SIP

became effective. The Diocese engaged the Insurance Archaeology Group (“IAG”) to assist it in

locating copies of such policies and/or secondary evidence of the existence of such policies. On

or about March 10, 2020, the Diocese located in its archives a number of records which identify

in reasonable detail secondary proof of pre-1973 policies that provide liability coverage to various

SIP Participants. Upon information and belief, copies of the relevant policies are in the possession

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of the respective carriers and may also be contained in the records of the various SIP Participants.

Unfortunately, the social distancing and stay at home orders issued by state and local authorities

in response to the recent novel coronavirus pandemic have temporarily stymied the search for

additional records with respect to pre-1973 insurance coverage. Nevertheless, based upon my

review of the available records, my knowledge of the relationship between the Diocese and the

other SIP Participants, and my experience in the insurance and risk-management industry, upon

information and belief prior to the 1973 implementation of the SIP, each of the SIP Participants

maintained liability insurance policies and each of those policies would have included the Diocese

as an additional named insured.

             The impact of the CVA Cases on the Diocese’s insurance coverage

       12.     On August 14, 2019, civil actions premised on allegations of child sex abuse which

were previously barred by the applicable statute of limitations in New York (“CVA Cases”) were

revived for a one-year window ending August 13, 2020.

       13.     As of February 28, 2020 (the “Petition Date”), the Diocese had been named as a

defendant in more than 250 CVA Cases. The vast majority of those lawsuits also named one or

more SIP Participants as additional defendants. In a few instances, plaintiffs have filed separate

CVA Cases alleging identical facts and claims against the Diocese and against SIP Participants.

The core allegations in the CVA Cases for the most part are either (1) focused on the conduct of

the Diocese, or (2) make no distinction between the conduct of the Diocese and the conduct of the

other SIP Participants.

       14.     In its capacity as the administrator of the SIP program, the Diocese has taken the

lead role in defending itself and the other SIP Participants in the CVA Cases. Among other things,

the Diocese has coordinated the retention of joint defense counsel, responded to the overwhelming

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majority of discovery requests and coordinated with insurance carriers. Prior to the opening of the

one-year window to bring CVA Cases, the Diocese also authorized and funded the payment of

approximately $18 million in voluntary settlement payments to abuse claimants as part of the

Diocese’s Independent Reconciliation and Compensation Program.

        15.    Despite the fact that the CVA Cases are now stayed against the Diocese, the

Diocese is still responsible under the SIP to provide a defense for other SIP Participants. In the

event plaintiffs are allowed to continue to prosecute the CVA Cases against the SIP Participants,

the Diocese will be required to expend significant time and money responding to the CVA Cases

both in its capacity as the risk manager and insurance coordinator for the SIP Participants and

simply to protect the Diocese’s own legal interests which could be jeopardized by continued

prosecution of the CVA Cases.

        16.    Even absent the Diocese’s obligations under the SIP to provide a defense to the

other SIP Participants with respect to the CVA Cases, the Diocese would be required to monitor

and participate in the CVA Cases, notwithstanding the bankruptcy automatic stay, because the

claims asserted against other SIP Participants are so closely intertwined with the claims asserted

against the Diocese that the Diocese may be exposed to collateral estoppel, adverse precedent,

vicarious liability, or imputed admissions if the litigation continues. In these circumstances, the

Diocese will have no choice but to participate in the CVA Cases, thus diverting significant

resources from the pursuit of a plan of reorganization and vitiating the efficacy of the automatic

stay.

        17.    Each of the SIP Participants has the same rights as the Diocese to coverage under

both the SIP and any pre-1973 policies on which they are co-insureds. Accordingly, the applicable

SIP reserves and policy limits are shared between the Diocese and the other SIP Participants. The

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reserves the Diocese holds to administer the SIP, as well as the excess insurance coverage available

under the SIP and/or any pre-1973 coverage is finite. To the extent a claim remains unstayed, the

SIP will be required to expend its reserves to fund defense costs. Moreover, with respect to any

claim which is successfully prosecuted against a SIP Participant, plaintiffs undoubtedly will look

directly to any shared insurance to satisfy any judgment, thereby depleting, dollar-for-dollar,

proceeds which would otherwise be available to the Diocese’s bankruptcy estate. Accordingly,

continuation of the CVA Cases against the SIP Participants will have an immediate adverse

economic consequence for the Diocese’s estate.

         18.   Lastly, continuation of the CVA Cases will divert critical resources away and likely

distract Bishop Sharfenberger, Charles Mendolera, the Diocese’s Executive Director of Financial

Administration, myself, and other key personnel and advisors from focusing on the Diocese’s

reorganization efforts.   It is the Diocese’s hope and expectation that a consensual plan of

reorganization can be formulated which will address not only the Diocese’s liabilities with respect

to any CVA Cases or other abuse claims, but also those of each of the SIP Participants. I

respectfully submit that staying the continued prosecution of the CVA Cases will allow all parties

in interest to focus on participating in settlement negotiations in good faith and will promote an

environment most likely to produce a global compromise and resolution on fair and equitable

terms.



                                     [signature page follows]




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       I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge, information and belief.

Executed on April 30, 2020


                                                    /s/ John M. Scholl

                                            JOHN M. SCHOLL, CPCU, AIM
